EXHIBIT A
          United States Court of Appeals
                     For the First Circuit


No. 16-1453

                   GLORIA M. ORTIZ-MARTINEZ,

                     Plaintiff, Appellant,

                               v.

   FRESENIUS HEALTH PARTNERS, PR, LLC; FRESENIUS MEDICAL CARE
         EXTRACORPOREAL ALLIANCE OF PUERTO RICO, INC.,

                     Defendants, Appellees.


          APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

        [Hon. Bruce J. McGiverin, U.S. Magistrate Judge]


                             Before

                Torruella, Lipez, and Thompson,
                        Circuit Judges.


     Isis Aimee Roldan Marquez for appellant.
     Alfredo M. Hopqood-Jovet, Patricia M. Marvez-Valiente, and
McConnell Valdes LLC for appellees.


                         April 7, 2017
            THOMPSON,     Circuit   Judge.       Appellant     Gloria   Ortiz-

Martinez worked as a social worker for appellees Fresenius Health

Partners,    PR,    LLC   and   Fresenius    Medical    Care   Extracorporeal

Alliance of Puerto Rico, Inc. (together, "Fresenius").1                    After

suffering a work-related injury, Ortiz-Martinez sued Fresenius for

failing to accommodate her       disability in violation of the American

with Disabilities Act ("ADA"), 42 U.S.C. §§ 12101-12213.                     The

district    court   granted     summary    judgment    finding,   first,    that

Ortiz-Martinez did not qualify as a "disabled" individual under

the ADA and, second, that she was the cause of the breakdown in

communications      concerning    her     accommodations.      After    careful

consideration, we affirm the district court's ruling.




     1 In her complaint, Ortiz-Martinez stated that Fresenius
Medical Care Extracorporeal Alliance of Puerto Rico, Inc. was her
employer and that the company's name was later changed to Fresenius
Health Partners Puerto Rico, LLC. In its answer to her complaint,
Bio-Medical Applications of Arecibo, Inc. stated that it was served
by Ortiz-Martinez in the underlying action, that Ortiz-Martinez
erroneously named the company as Fresenius Health Partners Puerto
Rico, LLC, and that Bio-Medical Applications of Arecibo, Inc. had
been Ortiz-Martinez's sole employer during all relevant times to
the underlying action.   Ortiz-Martinez did not dispute this fact
below, nor on appeal, and the parties agreed that her proper
employer was Bio-Medical Applications of Arecibo, Inc.     Although
Bio-Medical Applications of Arecibo, Inc. stated that it would
correct the caption of the case by separate motion, no such motion
was ever filed.    Instead, Bio-Medical Applications of Arecibo,
Inc. continued to refer to itself as "Fresenius" before the
magistrate judge and once again on appeal. To avoid any confusion
we continue to refer to Bio-Medical Applications of Arecibo, Inc.
as "Fresenius."


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                                      Background

              The case facts are largely undisputed and we summarize

them in the light most favorable to the appellant.                    See Gillen v.

Fallon Ambulance Serv., 283 F.3d 11, 17 (1st Cir. 2002).

              On January 25, 2010, Ortiz-Martinez was hired as a social

worker   at     Fresenius,    a       health    care      services   provider   that

administers dialysis treatment to patients with kidney disease or

impaired renal function.              As part of her duties, Ortiz-Martinez

was required to regularly write and document various aspects of

her work, including documenting all interventions and services she

rendered to patients, and completing a monthly report for each

patient under her care.               During the course of her employment,

Ortiz-Martinez     suffered       a   hand     injury     while   preparing   written

notes in her patients' files.

              Ortiz-Martinez subsequently went to see a doctor with

the State Insurance Fund ("SIF") on July 30, 2012 regarding her

work-related injury and was placed on rest until August 9, 2012.

Ortiz-Martinez      went     back      to    the    SIF    for    several   follow-up

appointments over the course of the next year, and each time she

was placed on additional rest and not permitted to return to work.

Following a doctor's appointment on July 12, 2013 where the doctor

once again extended Ortiz-Martinez's order of rest until July 22,

2013, Ortiz-Martinez returned to the SIF five days later (on July

17, 2013) to inquire about returning to work while she continued



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treatment for her injury.        Her doctors agreed that she could return

to work while continuing her treatments and, with the blessing of

her doctors, she reported in on July 18, 2013.

           Upon her return, Ortiz-Martinez provided her supervisor

and Clinical Manager, Priscilla Ortiz ("Priscilla"),2 with a copy

of   the SIF   form    which   indicated    that    Ortiz-Martinez had      been

diagnosed with a sprained left shoulder, arm, forearm, and hand,

as well as bilateral carpal tunnel syndrome.                The SIF form also

indicated that after her medical examination on July 17, 2013,

Ortiz-Martinez was cleared to return to work while she continued

to receive medical treatment for her injuries.               The SIF form did

not indicate what specific accommodations were necessary to assist

Ortiz-Martinez    in    the    completion    of     her   daily   tasks    while

continuing treatments for her injury.

          Accordingly,         Priscilla    informed      Ortiz-Martinez    that

without   more   information       regarding       Ortiz-Martinez's       medical

restrictions and what specific accommodations she was requesting,

Fresenius would not be able to reinstate her.              That same day (July

18, 2013), Ortiz-Martinez returned to the SIF in an effort to

obtain the additional information requested by Priscilla.                 The SIF

provided Ortiz-Martinez with a letter that, in pertinent part,

stated the following:


      2In order to avoid confusion, we refer to Priscilla Ortiz by
her first name — no disrespect is intended.


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            The following diagnosis was made at our
            agency: Sprained Left Shoulder and Arm.
            Sprained Left Forearm.   Sprained Left Hand,
            Bilateral Carpal Tunnel Syndrome.       These
            conditions produce constant pain, numbness in
            [Ortiz-Martinez's] upper extremities, and
            difficulty in performing the activities that
            require exercising force or pressure in the
            affect [sic] area.

            Dr.   Miguel   Rivera-Gonzalez,   Occupational
            Physician who is in charge of the case,
            recommends that this employee be provided with
            an occupational adjustment.       The medical
            evidence shows that Mrs. Ortiz[-Martinez] has
            difficulty in performing repetitive tasks,
            lifting, holding and manipulating heavy and
            large objects for a prolonged length of time.
            She also has difficulty in holding, pulling,
            gripping and she shows problems related to
            restriction of movement and strength in her
            left hand. Because of this condition, she is
            a candidate for surgery in the left hand,
            which is pending.

            According to the medical recommendations, we
            suggest that the possibility of providing this
            employee with the necessary adjustments be
            considered, so that she may be able to perform
            her duties without worsening her health
            condition while she continues to receive
            treatment through the State Insurance Fund
            Corporation. Furthermore, we recommend giving
            her short rest periods during her workday.

            Ortiz-Martinez returned to Fresenius that same day and

provided    the   SIF letter   to Priscilla.    Priscilla    told   Ortiz-

Martinez that the letter "didn't tell her anything," but that

Fresenius would evaluate the letter and get back to her.              This

would prove to be the second to last time that Ortiz-Martinez and

Fresenius     had    a   meaningful     engagement   to     discuss    her




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accommodation.       One final meeting occurred in early August, which

we discuss below.

            While Ortiz-Martinez disputes the exact number of calls

attempted   by Fresenius in        the aftermath of the July 18, 2013

meeting, she concedes that Fresenius did, in fact, attempt to get

in touch with her on numerous occasions after that date to discuss

her accommodation needs.          Indeed, the record indicates that after

multiple    failed     attempts    to    reach    Ortiz-Martinez        by   phone,

Fresenius tried to reach her by letter.            In a July 26, 2013 mailing

Fresenius     informed       Ortiz-Martinez        that    the     company      had

unsuccessfully attempted to contact her via phone as early as July

23, 2013, that they were unable to leave her a message because her

voicemail    was   not   activated,      and    they   requested    that     Ortiz-

Martinez contact Fresenius within the next five business days to

discuss how the company could best accommodate her injury.                   Ortiz-

Martinez    claims    that   she   did    not    receive   the   July    26,   2013

correspondence until August 6, 2013 and she could not remember

whether she had made any effort to communicate with Fresenius

between July 22, 2013 and August 6, 2013.

            On July 26, 2013, however, despite Fresenius's attempts

to contact her and despite her failure to communicate any further

with the company, Ortiz-Martinez filed a complaint with the Equal

Employment Opportunity Commission and on July 30, 2013 she filed




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a complaint with the Anti-Discrimination Unit of the Puerto Rico

Department of Labor.

           On August 2, 2013, Ortiz-Martinez's union representative

at Fresenius, Marcos Soto ("Soto"), telephoned Ortiz-Martinez to

inform   her   that   a   Fresenius    representative,   Awilda   Rodriguez

("Rodriguez"), had been trying to reach her via phone and mail.

After the call, Ortiz-Martinez sent Soto a follow-up letter that

confirmed that they had spoken that day, contended that she had no

missed calls from Fresenius, and indicated that she had not yet

located or received the July 26, 2013 letter from Fresenius.           Even

after learning from Soto that Fresenius was attempting to reach

her to discuss her return to work, Ortiz-Martinez did not contact

the company or attempt to further communicate her accommodation

needs until August 6, 2013.

           On that day, Ortiz-Martinez met with Soto, Rodriguez,

and Priscilla to discuss her needed accommodations.          The Fresenius

representatives again informed Ortiz-Martinez that they needed

more information concerning her medical restrictions in order to

accommodate her injuries.      Soto recommended that Fresenius contact

the SIF in order to clarify Ortiz-Martinez's medical restrictions

and the company agreed to do so.

           True to their word, the very next day, Fresenius wrote

to the SIF seeking clarification of the medical restrictions and




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accommodations needed for Ortiz-Martinez.            The letter, addressed

to Ortiz-Martinez's doctor, read in relevant part:

           In  the document     you submitted    for  our
           consideration, you told us in general terms,
           that the employee has difficulty in performing
           certain tasks and movements. Consequently, we
           are having difficulty evaluating what type of
           accommodations would be most appropriate for
           the employee. To this end, we would ask that
           you provide us with more specific information
           regarding the recommended restrictions, such
           as the weight or amount in pounds that the
           employee may lift, the frequency and duration
           of the rest periods, the repetitive movements
           she must avoid, the specific limitations for
           grabbing, pulling or squeezing, among others
           that you may point out.

           The letter also included a job description3 for Ortiz-

Martinez's   role    and   noted   that   her    duties   typically    included

writing and documenting her work.               Fresenius never received a

response from the SIF or Ortiz-Martinez's doctors to the August 7,

2013 request and a month later, Fresenius sent Ortiz-Martinez yet

another   letter    detailing   the   additional     information      needed   to

accommodate her injuries.       Specifically, the letter indicated that

Fresenius was "interested in continuing to have an interactive

process with [Ortiz-Martinez]," that Fresenius was unsuccessful in



     3 The job description detailed, in relevant part, that as a
social   worker,  Ortiz-Martinez  was  responsible   for  patient
assessments, care planning, and counseling.    Ortiz-Martinez was
responsible for "assess[ing] patients' psychosocial status,
strengths and areas of need that may affect rehabilitation." And
her "day to day work include[d] desk and personal computer work
and interaction with patients, facility staff and physicians."


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its attempts to reach her doctors at the SIF, and that they needed

additional information including: the maximum weight she could

lift; the frequency and duration of rest periods required; the

kind of repetitive movements to be avoided; the kind of limitation

for holding, pulling, and gripping; her capacity for using her

left hand at the level required to perform her essential duties as

a social worker; and any other specific recommendations that could

be made.   Ortiz-Martinez claims that she never received this final

letter,    but   admits   she   never   again   initiated   any    further

communication with Fresenius concerning her accommodation requests

after the August 6, 2013 meeting.         Ortiz-Martinez never returned

to work at Fresenius and in April 2014 she filed suit alleging

that Fresenius failed to accommodate her disability in violation

of the ADA.

                                Discussion

           Having extensively laid out the undisputed facts in this

case, Ortiz-Martinez's appeal can be easily dispatched.           We review

the district court's grant of summary judgment de novo.           Carreras

v. Sajo, Garcia & Partners, 596 F.3d 25, 32 (1st Cir. 2010) (citing

Caban Hernandez v. Philip Morris USA, Inc., 486 F.3d 1, 8 (1st

Cir. 2007)) .

            "The ADA provides 'a clear and comprehensive national

mandate for the elimination of discrimination against individuals

with disabilities.'"      Ruiz Rivera v. Pfizer Pharms., LLC, 521 F.3d



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76, 82 (1st Cir. 2008) (quoting Katz v. City Metal Co. , 87 F.3d

26, 30 (1st Cir. 1996)).         Indeed, "[t]he ADA was enacted for 'the

elimination or reduction of physical and social structures that

impede people with some present, past, or perceived impairments

from contributing, according to their talents, to our Nation's

social, economic and civil life . . . .'"                   Ramos-Echevarria v.

Pichis, Inc., 659 F.3d 182, 186 (1st Cir. 2011) (quoting Tennessee

v. Lane, 541 U.S. 509, 536 (2004) (Ginsburg, J., concurring)).                    To

that   end,    the   ADA   "prohibits     an   employer     from   discriminating

against a qualified person with a disability in regard to 'job

application procedures, the hiring, advancement, or discharge of

employees, employee compensation, job training, and other terms,

conditions, and privileges of employment' because of his or her

disability     or    perceived   disability."         Id.   (quoting    42   U.S.C.

§ 12112(a) (1990) ).

              Under the ADA an employer is required to make "reasonable

accommodations to the known physical or mental limitations of an

otherwise     qualified      individual    with   a    disability      who   is   an

applicant or employee, unless [the employer] can demonstrate that

the accommodation would impose an undue hardship on [its] operation

of the business."          42 U.S.C. § 12112(b)(5)(A); see also Rocafort

v. IBM Corp., 334 F.3d 115, 119 (1st Cir. 2003) ("Under the ADA,

'an employer who knows of a disability yet fails to make reasonable

accommodations violates the statute.'" (quoting Higgins v. New



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Balance Athletic Shoe, Inc., 194 F.3d 252, 264 (1st Cir. 1999))).

To survive summary judgment on a failure-to-accommodate claim, a

plaintiff must prove that: "(1) he [or she] is disabled within the

meaning of the ADA, (2) he [or she] was able to perform the

essential    functions   of   the    job   with   or   without   a   reasonable

accommodation, and (3) [his or her employer], despite knowing of

[his   or   her]   disability,    did   not   reasonably   accommodate     it."

Rocafort, 334 F.3d at 119; see also EEOC v. Kohl's Pep't Stores,

Inc., 774 F.3d 127, 131 (1st Cir. 2014).

            The district court found that Ortiz-Martinez failed to

establish the first and third prongs: namely, that (1) she is

disabled    within   the meaning of the statute; and (2) that her

employer failed to reasonably accommodate her when she was the one

responsible for the breakdown in the interactive process.                    On

appeal, Ortiz-Martinez argues that the district court erred in its

findings.    Even if we assume the district court erred in concluding

that Ortiz-Martinez was not a disabled person, because we find

that Ortiz-Martinez was in fact responsible for the breakdown of

the interactive process, we affirm the district court's holding.

            "[A]n    employee's     request   for   accommodation     sometimes

creates 'a duty      on the part of the employer to              engage in an

interactive process.'"        Kohl's, 774 F.3d at 132 (quoting Enica v.

Principi, 544 F.3d 328, 338 (1st Cir. 2008)).                The interactive

process, which varies depending on the circumstances of each case



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nevertheless requires both the employer and employee to engage in

a meaningful dialogue, in good faith, for the purpose of discussing

alternative reasonable accommodations.           Id.   Once "a breakdown in

the process has been identified, 'courts should look for signs of

failure to participate in good faith or failure by one of the

parties      to   make   reasonable   efforts   to   help   the   other   party

determine what specific accommodations are necessary.'"                   Enica,

544 F.3d at 339 (quoting Beck v. Univ. of Wis. Bd. of Regents, 75

F.3d 1130, 1137 (7th Cir. 1996))).               If an "employee fails to

cooperate in the process, then the employer cannot be held liable

under the ADA for a failure to provide reasonable accommodations."

Id.

              Ortiz-Martinez argues on appeal that Fresenius's request

for additional information was excessive and unrelated to her work

requirements as a social worker.           She also argues that she was not

responsible       for    the   breakdown   in   communication     because    she

"manifested her desire to be reinstated after her disability-

related leave of absence," Fresenius never offered her any sort of

reasonable accommodation, and Fresenius never provided evidence

that   the    letters it sent to the SIF were actually sent.                  We

disagree.

              The burden is on Ortiz-Martinez to demonstrate in the

first instance what specific accommodations she needed and how

those accommodations were connected to her ability to work.                  See



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Jones v. Nationwide Life Ins. Co., 696 F.3d 78, 89 (1st Cir. 2012)

("The     obligation           is    on   the    employee          to   provide         sufficient

information         to    put       the   employer      on    notice        of    the    need    for

accommodation.            This means not only notice of a condition, but of

a   'causal    connection            between    the   major         life activity that            is

limited    and      the     accommodation         sought.'"          (citations         omitted)).

Notwithstanding            this      burden,     here        the    record        is    rife     with

uncontested         facts       demonstrating           that        Fresenius          continually

attempted to engage in the interactive process in good faith, while

Ortiz-Martinez refused to meaningfully engage after submitting an

initial letter from her doctors on July 18, 2013 and attending a

meeting on August 6, 2013.

              First, Fresenius's request for more specific information

was     reasonable          and       important       to      determine           the     type     of

accommodations Ortiz-Martinez required.                             How much weight Ortiz-

Martinez could support with her hands, the kind of movements that

she was to avoid due to her injury, and how long or frequently she

needed breaks throughout the day were directly relevant to the

accommodations she would need and her duties of daily desk and

personal computer work, while performing and documenting patient

assessments, care planning, and counseling.                                 "An accommodation

request must be sufficiently direct and specific, and it must

explain       how        the    accommodation           is         linked        to     plaintiff's

disability."             Id. (citing Freadman v. Metro. Prop. & Gas. Ins.



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Co., 484 F.3d 91, 102 (1st Cir. 2007); Tobin v. Liberty Mut. Ins.

Co., 553 F.3d 121, 129 (1st Cir. 2009)).                Fresenius's attempts to

further clarify Ortiz-Martinez's requests and to seek specific

information       regarding       her      accommodation         needs        were     not

unreasonable, especially in light of her burden to explain how her

specific accommodation requests were related to her disability and

duties at work.

               Ortiz-Martinez's remaining complaints are also without

merit.   The mere fact that she expressed a desire to be reinstated

does   not     demonstrate      that     she    meaningfully     engaged       with    the

interactive process in good faith.                A declaration of a desire to

return did not assist Fresenius in probing the contours of her

physical       limitations      in      order     to   fashion      an    appropriate

accommodation and Fresenius's failure to offer her any type of

accommodation due to a lack of sufficient information cannot be

the    basis    of    liability      —    Fresenius     committed        no    error    in

attempting       to   clarify     her    needs    so   that    it    could      properly

accommodate      her.     We    therefore       conclude   that     Ortiz-Martinez's

failure "to make reasonable efforts to help [Fresenius] determine

what specific accommodations are necessary" caused the breakdown

in the interactive process.             Enica, 544 F.3d at 339.          Consequently,

her failure to cooperate in Fresenius's attempts to identify the

proper   accommodations precludes a finding that the company is

liable for the failure to accommodate.                     See Phelps v. Optima



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Health, Inc., 251 F.3d 21, 27-28 (1st Cir. 2001) (where appellant

failed to cooperate or actively engage in interactive process,

employer could not be held liable for failure to accommodate).

              Lastly, with regard to Ortiz-Martinez's argument that

Fresenius never submitted proof that its letter to the SIF on

August 7, 2013 or its final letter to Ortiz-Martinez on September

6, 2013 were actually sent, these arguments are deemed forfeited

because Ortiz-Martinez failed to raise them before the district

court.   See Davila v. Corporacion De P.R. Para La Difusion Publica,

498 F.3d 9, 14 (1st Cir. 2007) (Finding that an argument was

forfeited     because    "[t]he   appellant did         not   present   it   to   the

district court.")        In any event, even if these two letters were

not considered, the record is jam-packed with other instances of

Fresenius's attempts to communicate and engage in the interactive

process with Ortiz-Martinez.

                                   Conclusion

               The    district    court      correctly    found   Ortiz-Martinez

responsible for the breakdown in communications and thus Fresenius

cannot   be    held    liable    for   its    failure    to   accommodate.        We,

therefore, affirm the district court's dismissal of her ADA claims.




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